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AO 245B (Rev. 09/08) Sheet 1 • Judgment In a Criminal Case



                                    United States District Court
                                    Southern District of Ohio at Cincinnati

          UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                               v.

                       PaulGilmore                                  Case Number                 1:14-CR-090-02

                                                                    USM Number:                 72206-061

                                                                    Ravert J. Clark, Esq.
                                                                    Defendant's Attorney

THE DEFENDANT:

[•]      pleaded guilty to count(s): One of the Indictment.
[]       pleaded nolo contendere to counts(s)       which was accepted by the court.
[]       was found guilty on count(s)     after a plea of not guilty.

         The defendant is adjudicated guilty of these offense(s):

Title & Section                      Nature of Offense                                 Offense Ended              Count
18U.S.C. §514                        Fictitious Obligations                                                       One




       The defendant is sentenced as provided in pages 2 through 5_of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)        .

[]       Count(s)       (is)(are) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. Ifordered to pay restitution, the defendant must notify the court and the United States Attorney of
material changes in the defendant's economic circumstances.

                                                                                           June 2, 2015
                                                                              Date of Imposition of Judgment



                                                                         S        Signature of Judicial Officer

                                                              SANDRA S. BECKWITH, United States Senior District Judge
                                                                              Name & Title of Judicial Officer



                                                                                              Date
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